Case 4:22-cv-03285 Document 17 Filed on 11/23/22 in TXSD Page 1 of 2

IN THE UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF TEXAS

HOUSTON DIVISION

J&T CHIROPRACTIC, PLLC, a/k/a §
J&T CHIROPRACTIC, LLC, §
§
Plaintiff, §
§

v. § CAUSE NO. 4:22-CV-03285
§
T&C CHIROPRACTIC, LLC, f/k/a §
T&C CHIROPRACTIC, PLLC, and §
THY NGOC NGUYEN, §
§
Defendants. §

SCHEDULING ORDER

 

Trial: Estimated time to try: 3 days. Bench.

New parties must be joined by: January 31, 2023
Furnish a copy of this scheduling order to new parties.

The plaintiff's experts will be named with a report furnished by: February 17,
2023

The defendant’s experts must be named with a report furnished by: March 20, 2023
Discovery must be completed by: May 31, 2023

Counsel may agree to continue discovery beyond the deadline, but there

will be no intervention by the Court. No continuance will be granted

because of information acquired in post-deadline discovery.

Dispositive Motions will be filed by: June 16, 2023
Responses due by: 21 days thereafter

Non-Dispositive Motions will be filed by: September 15, 2023
Oe fee 2fe ae 2fe fe ie fee 2 2h 2c oe oe 2 oe The Court will provide these dates. fe 26 fe ce ois aie fe 26 fe oie ke 2k aie oe ok 2 ok

Joint pretrial order is due: February 23, 2024
The plaintiff is responsible for filing the pretrial order on time.

Final Pretrial Conference is set for 1:30 PM on: March 25, 2024
Case 4:22-cv-03285 Document 17 Filed on 11/23/22 in TXSD Page 2 of 2

10. Trial is set for 9:00 AM on: April 8, 2024
The case will remain on standby until tried.

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DATED this 7 ___ day of November, 2022.

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Andrew S. Hanen
United States District Judge

AGREED AS TO FORM AND CONTENT:

November 21, 2022

 

 

 

 

 

Counsel for Plaintiffs Date
/s/ James Bowen (wip) November 21, 2022
Counsel for Defendant Date
